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mths@ho¢mail.com gsaa…"lf*ii*§iw
(928) 300-6030 ‘ ` ’
UNITED STATES DISTRICT COURT
DISTRICT OF ARIZ()NA
NO. CV- 1 6-08277-PCT-DLR
Real Party In Interest:
MICHAEL J BROSNAHAN
Consumer Clairnant
Plaintiff, RESPUNSE TO DEFENDANT’S

MOTION TO DISMISS

CALIBER H@ME LOANS, INC_, et al_ (Honorable Douglas L. Rayes)

AND/()R Real Party(s) In lnterest:
Defendants.

 

 

 

Plaintiff Michael J Brosnahan, natural person,"Consumer" as defined by 15 USC
1692a(3)(4), and Principal, exercising his private right of action l5 U.S.C. § l692k, not
Waiving any rights, Without prejudice, Enf`orcement action Fair Debt Collection
Practices Act 15 U.S.C. § 1692 Federal Question 28 U.S.C. § 1331;
Consumer/Principal/Plaintiff hereby incorporates by reference all facts set forth in
Plaintiff‘s Complaint, First Amended Complaint (“FAC”) and Plaintiff‘s Response,
including all defined terms contained therein. On and for the record and for my appeal if
necessary, Consumer hereby respectfully submits his Response to Defendants’ Motion to
Dismiss and states as folloWs:

PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
lt is difficult to comprehend the basis of Defendant’s Motion to Dismiss, it is an
avalanche of paperwork (243 pages) filled With legalese, terms no laymen Will understand

and used Words that have different meanings in law than in the layman sense, ONLY the

 

 

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laymen meaning of the words should be used with the Consumer. The unfair advantage
for Defendants is obvious in that condition alone. A Consumer layman is NOT required to
know legal defmitions. Plain Writing Act of 2010.

Defendants motion appears to have been filed in bad faith in an attempt to
Prejudice the court against the Consumer's legitimate claim. Plaintiff obj ects, Consumer's
prior cases are irrelevant and have no bearing on the Federal Question 28 U.S.C. § 1331
before the court and are inadmissible Plaintiff asks that any and ALL references to prior
cases be sealed and stricken from the record "EXhibits 15 - 25" as to not bias the Case and
Sanction Defendants' counsel accordingly 28 U.S. Code § 2072. Additionally, Plaintiff
objects to all "Exhibits l - 14" that are "Unofficial Copies" are inadmissible in this Federal
Court Case pursuant to Federal Rules of Evidence Rule 1002. Requirement of the
Original. Court must have "Exhibits l - 14" sealed and stricken from the record.

Defendants' counsel knows or should have known that the prior trustee sale
documents are false and forged documents as disclosed in our pre-trial meeting on
December 27, 2016 and a letter to Caliber dated June 27,2016. Federal Rule of Civil
Procedure 12 (f`) MOTION TO STRIKE. "T he court may strike from a pleading an
insujj‘icient defense or any redundant immaterial impertinent, or scandalous matter. T he
court may acz‘.' (1) on its own,'... "

Plaintiff again hereby questions the authenticity and/or authority of all signatures
by any and all parties. Plaintiff hereby questions the authenticity and/or authority of all
documents, agreements, contracts, notes, and/or the like by any and all parties.

The notary(s) signing documents for Defendants’ ens legis are actually employees
of Defendants’ corporations and have unlawfully notarized documents for their employers
without firsthand knowledge and are hearsay. All documents notarized by employees are
void ab intio and may only be considered by this Court as evidences of their crimes and
NEVER as Valid documents The Court should not tolerate an utterly frivolous motion
such as this by a party who does not wish to have its unlawful and illegal activities

exposed.

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Plaintiff categorically denies any and all allegations, assumptions, and

presumptions in the defendants baseless and frivolous “motion to dismiss”.
JUDICIAL NOTICE

28 U.S. Code § 2072 - Rules of procedure and evidence; power to prescribe

Fair Debt Collection Practices Act 15 U.S.C. § 1692

Federal Question 28 U.S.C. § 1331

Truth in Lending Act (TILA) 15 U.S.C. § 1601 et seq

Helping Families Save Their Homes Act of 2009

Public Law 111 - 274 - Plain Writing Act of 2010

FTC 16 C.F.R. § 433, (“Holder” Rule)
SCOTUS unanimous decision January 13, 2015 Jesinoski v. Countrywide
Home Loans, Inc., 2015 WL 144681 .

Plaintiff respectfully requests the Court take notice of the well-pleaded allegations
of the Consumer Plaintiff"s complaint, which this Court in the initial hearing said several
times was "...a very well written complaint” as well as the First Amended Complaint and
must accept as true at this juncture of the proceedings, and which, in light of the Plaintiff’s
pro se status, the Court must hold to a less stringent standard than formal pleadings
drafted by an attorney and construe liberally. See Haines v. Kerner, 404 U.S. 519, 520, 92
S.Ct. 594, 596, 30 L.Ed. 2d 652 (1972).

I. STATEMENT OF FACTS

1. At all relevant times, Defendants Caliber Home Loans lnc., LSF9 Master Participation
Trust, and Summit Services and Realty LLC (collectively “Defendants”) and its agents are
in fact a "Debt Collector" as defined under the FDCPA. 15 U.S.C. § l692a(6). Defendants
have acted and continue to act recklessly or knowingly and commit the acts, cause or
direct others to commit the acts, or permit others to commit the acts alleged in this matter.
Any allegations about the acts of the Corporations means those acts were committed
through their officers, directors, employees, agents, and/or representatives while those

individuals were acting within the actual or implied scope of their authority.

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Consumer has received numerous unsolicited correspondences in violation of
15 USC § l692c(a), from Defendants clearly stating they are a "debt collector" as
required by the FDCPA yet now allege they are not "debt collector" before this Court.
See: Wilson v. Draper & Goldberg, P.L.L.C., 2006 U.S. App. LEXIS 8243 (4th Cir. April
5, 2006) the court dismissed Draper‘s argument that it was a debt collector only under
certain provisions of the Act, concluding that once a party meets the statutory definition of
debt collector, it is subject to the Act in its entirety.

This matter arises out of Defendants’ unlawful communication to the
Consumer pursuant to 15 USC§l6920(a) and the commencement of a non-judicial
foreclosure proceeding against Consumer absent the required documentation pursuant
to 15 U.S.C. §1692e(2) §l692f 6(a) and in lieu of said documentation, Defendants used
perjurious statements and claim to conceal the Facts that neither Defendant nor
Defendant’s ens legis has no Legal and/or Lawful Right to commence the non-judicial
foreclosure proceeding

Defendants also now allege they are above, and not subject to, contact laW.The
Deed of Trust is explicit in paragraph 22 that: "Acceleration; Remedies. Lender shall
give notice to Borrower prior to acceleration following Borrower's breach of any
covenant or agreement in this Security" lnstru)nent (einphasis added) Defendants failed
to meet Conditions Precedent pursuant to DOT. See: Conditions Precedent Not Met -
2011 CA US District Court - Paik v Wells Fargo.

lt is disingenuous of Defendant’s counsel to state "...it does not appear that a
trustee ’s sale of the property was conducted at that time. Neither the FAC nor the
documents in the public record explain why the trustee ’s sale did not occur in late 2010 or
soon thereafter... " when the history of the many irregularities and of false and forged
documents were disclosed by Consumer in good faith to Defendant's Lead Counsel in
our pre-trial meeting on December 27, 2016 and also disclosed in a letter to Caliber
dated June 27, 2016.

Consumer again Documented this fact in "FAC"; Page 13, 13) On Nove)nber ]2,

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201 6, Consumer filed complaint with the CFPA over debt collectors abusive behavior See
Case number 161112-000216.... CFPA in part: "In addition to the above irregularities,
the original August, 06, 2009 Trustee Sale Document was proven to be a “robo-signed”
document that was created in an attempt to steal the Consumer's property T he Texas
Secretary of State responded to Mr. Brosnahan ’s notary complaint on February, 08, 2012
case number.' INPC 22531, by immediately Suspending Christopher Williams Recon T rust
employee and Notary, for not complying with Texas Law Code & 406. 014 and failing to
log the details of the Trustee Sale Document properly. Mr. Brosnahan, Consumer, also
believes Recon T rust Company breached their fiduciary obligation as the alleged Trustee
and ignored due diligence to the Trustor by not acting in a fair and unbiased manner to
disclose to both parties when this material fact was discovered by the Texas Secretary of
State. "

Also See page 9 of FAC: 6) : "On August 05, 2016, 415-days later, Consumer
received a communication from Debt Collector that was nonresponsive and refused to
acknowledged any of the consumers legitimate concerns even though they were
previously informed: " CALIBER HOME LOANS and its agents must accept the full
"Moral Hazard" of their continued willful ignorance and their actions that continue to
purposefully obfuscating facts and laws. CALIBER HOME LOANS and its agents can no
longer claim "plausible deniability". CALIBER HOME LOANS and its agents cannot
expect to legally collect on an alleged Loan/Debt it allegedly claims originated on May
25, 2006 and simultaneously turns a blind eye as to the fraudulent nature of the
origination, accounting irregularities, statutory violations and false and forged
documents that it is maliciously using in an attempt to steal Consumer unique real
property ”

The legitimacy of the Assignments is very much in question. 28 U.S. Code § 2072
and Federal Rules of Evidence Rule 1002. Requirement of the Original

Defendants allege there is a clear chain of title. Quite frankly, it is clear the alleged

Assignments were not executed correctly in the ordinary course of business, as required

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by law and defendants clouded the title in an attempt to "push through" this unlawful
mortgage foreclosure The exhibits are "hearsay” and inadmissible as evidence in this
Court. The veracity of accounting and the Affidavit by now is in question. Defendants and
its agents continue to trespass and harass Consumer.
Fact: Broken chain of title

Defendants breached their fiduciary duty and ignored their Due diligences: chen
letter to Consumer: January 13, 2014: "T he entity that currently owns the loan and
holds the Note is Deutsche Bank National T rust Company, as Trustee for Bank of
America, National Association, NC]-026-05-66 900 West Trade Street Attn.' Investor
Inquiries, Charlotte, NC 28255. " never recorded properly. Defendants are attempting to
mislead the Consumer and the Court. There is no clear chain of title, Defendants have no
standing and are unable to enforce, therefore are nothing more than a "debt collector" as
defined in FDCPA.

Pursuant to F.R.Civ.P. Rule 8(b)(6) and/or all allegations and/or claims
made by Plaintiff MUST be accepted as true by this Court unless Said allegations and/or
claims are rebutted with a preponderance of the evidence by Defendant. Any and all such
avowries and/or averments presented by Defendant must be done under penalty of
perjury.

ALL of Defendant’s counsel’s pleadings, motions, Judicial Notice, tainted

documents and/or the like MUST be stricken from this Court’s record.

II. STANDARD OF REVIEW

2. Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement of
the claim showing that the pleader is entitled to relief`,” in order to “give the defendant
fair notice of what the ... claim is and the grounds upon which it rests.” Bell Atlantic
Corp. V. Twombly, 550 U.S. 544, 555 (2007), quoting Conley v. Gibson, 355 U.S. 41,
47 (1957). “[A] complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
detailed factual allegations.” Id. At 555. “[W]e do not require heightened fact pleading

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of specifics, but only enough facts to state a claim to relief that is plausible on its face.”

ld. At 570.

The complaint must only include “sufficient factual allegations to provide the grounds
on which the claim rests”. Friends of Lake View School District v. Beebe, 578 F.3d
753, 762 (8th Cir. 2009). While “mere labels and conclusions” will not satisfy a
plaintiffs burden, there is no need for detailed factual allegation or specific facts that
describe the evidence to be presented ld. A plaintiff satisfies their burden if they
allege facts sufficient to allow a court to infer “more than the mere possibility of

misconduct”. Ashcroft v. lqbql, 129 W.Ct. 1937, 1950 (2009).

Well-pleaded allegations of fact and every inference fairly deducible there from are
accepted as true for purposes of a motion to dismiss. See: Erickson v. Pardus, 551 U.S.
89, 93-94 (2007). “[A] well-pleaded complaint may proceed even if it strikes a savvy
judge that actual proof of those facts is improbable, and “that recovery is very remote

and unlikely.” Twombly, 550 U.S. at 556.

III. ARGUMENTS AND AUTHORITIES

“When considering Defendant’s motion, the court must construe the factual allegations
in the complaint in the light most favorable to the plaintiff.” In re Stac Elecs. Sec.
Litig., 89 F.3d 1399, 1403 (9th Sir. 1996): Jones v. General Elec. Co., 87 F.3d 209,
211 (7th Cir. 1996). “Only if no possible construction of the alleged facts will entitle
plaintiff to relief should the court grant defendant’s motion.” Hishon v. King &
Spaulding, 467 U.S. 69, 73, 104 S. Ct. 2229, 2232 (1984). If the factual allegations in
plaintiff" s complaint support any legal theory that entitles plaintiff to some relief, the

court should overrule defendant’s motion to dismiss.

A. THE FDCPA IMPOSES A STRICT LIABILITY STANDARD.

6.

The FDCPA, 15 U.S.C. § 1692, et seq., is a strict liability statute, Taylor v. Perrin,
Landry deLaunay & Durand, 103 F.3d 1232 (5th Cir. 1997): see also Irwin v. Mascott,

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112 F. Supp. 2d 937 (N.D. Cal. 2000): Pittman v. J.J. Mac Intyre Co. ofNevada, Inc.,
969 F. Supp. 609 (D. Nev. 1997). “Because the Act imposes strict liability, a consumer
need not show intentional conduct by the debt collector to be entitled to damages.”

nassau v. Equax A.R.s., 74 F. 3d 30, 33-34 (2110 cir. 1996).

B. THE FDCPA MUST BE LIBERALLY CONSTRUED IN FAVOR OF

CONSUMER.

. The FDCPA is a remedial statute, Hamilton v. United Healthcare of Louisiana, Inc.,

310 F. 3d 385, 392 (5th Cir. 2002). The remedial nature of the FDCPA requires that
courts interpret it liberally. Clark v. Capital Credit & Collection Services, Inc., 460 F.
3d 1162, 1176 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending Act
(TILA) 15 U.S.C. § 1601 et seq., is a remedial statute, it should be construed liberally
in favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107, 1117 (20th Cir. 2002).
Also See SCOTUS (TILA) unanimous decision January 13, 2015 Jesinoski v.
Countrywide Home Loans, Inc., 2015 WL 14468] .

lt is unclear why Defendants allege in their motion that they do not have to strictly

follow the FDCA and TILA laws as it applies to them, and instead chose to ignore
Congress and SCOTUS in this matter.

C. THE FDCPA BROADLEY PROHIBITS UNFAIR OR UNSCONSIONABLE

COLLECTION METHODS, CONDUCT WHICH HARASSES, OPRESSES OR
ABUSES ANY CONSUMER, AND ANY FALSE, DECEP'I`IVE OR
MISLEADING STATEMENTS, IN CONNECTION WITH THE COLLECTION
OF A DEBT.

. The Fair Debt Collection Practices Act. (“FDCPA”) is a comprehensive statute which

prohibits a catalog of activities in connection with the collection of debt by third
parties. See 15 U.S.C. § 1692 et seq. The FDCPA imposes civil liability on any person
or entity that violates its provisions, and establishes general standards of debt collector
conduct, defines abuse, and provided for specific consumer rights. 15 U.S.C. § 1692k.
The operative provisions of the FDCPA declare certain rights to be provided to or

claimed by Consumers, and forbid deceitful and misleading practices, both generally

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and in a specific list of disapproved practices, and prohibit harassing and abusive

tactics both generally and in a specific list of disapproved practices.

. ln enacting the FDCPA, the United States Congress found that “[t]here is abundant

evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” which “contribute to the number of personal bankruptcies, to marital
instability, to the loss ofjobs, and to invasions of individual privacy.” 15 U.S.C. §
1692(a). Congress additionally found existing laws and procedures for redressing debt
collection injuries to be inadequate to protect consumers 15 U.S.C. § l692(b). lt is the
express purpose of the FDCPA to “eliminate abusive debt collection practices by debt
collectors, to insure that debt collectors who refrain from using abusive debt collection
practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § 1692(e).

10. Accordingly, the FDCPA broadly enumerates several practices considered contrary to

its stated purpose, and forbids debt collectors from taking such action. The substantive
heart of the FDCPA lies in three broad prohibitions First, a debt collector may not
engage in any conduct the natural consequence of which is to harass, oppress, or abuse
any person in connection with the collection of a debt.” 15 U.S.C. § 1692d. Second, a
“debt collector may not use any false, deceptive, or misleading representation or means
in connection with the collection of any debt.” 15 U.S.C. § 1692e. And third, a “debt
collector may not use unfair or unconscionable means to collect or attempt to collect
any debt.” 15 U.S.C. § l692f. Simply it was designed to protect consumers from
unscrupulous collectors, whether or not there exists a valid debt, the FDCPA broadly
prohibits unfair or unconscionable collection methods, conduct which harasses,
oppresses or abuses any consumer, and any false deceptive or misleading statements,
in connection with the collection of a debt. Baker v. G.C. Services Corp., 677 F.2d 775
(9th Cir. 1982); Heintz v. Jenkins, 514 U.S. 291 (1995); McCartney v. First City Bank,
970 F.2d 45 (5th Cir. 1992).

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Validation requires presentment of the account and general ledger statement signed
and dated by the party responsible for maintaining the account. See Pacific Concrete
F.C.U. v. Kauanoe, 62 Haw. 334, 614 P. 936 (1980), GE Capital Hawaii, lnc. v.
Yonenaka 25 P. 3d 807, 96, Hawaii 32, (Hawaii App 2001), Fooks v. Norwich
Housing Authority 28 Conn. L. Rptr. 371, (Conn. Super. 2000), Town of Brookfield v.
Candlewood Shores Estates, lnc. 513 A. 2d 1218, 201 Conn. l (1986), and Solon V.
Godbole, 163 lll. App. 3d 845, 114111. Dec. 890, 516 N.E. 2d 1045 (3Dist. 1987).
The Defendants never complied with Plaintiff’ s Consumer demands for validation of
the alleged debt they were attempting to collect yet continued their collection
activities A debt collector verifies a debt by providing information that is responsive
to the consumer’s request. See H.R. Rep. No 31, 95th Cong., lst Sess. 5 1977 . At NO
time did DEFENDANTS begin to attempt to properly validate the alleged debt as
demanded by Plaintiff.

As previously mentioned, the FDCPA is a strict liability statute and “Because the Act
imposes strict liability, a Consumer need not show intentional conduct by the debt
collector to be entitled to damages”. The argument of no duty to send a verification
letter fails in light of the fact that Defendants did NOT provide validation of the
alleged debt nor did the Defendants up until the time this action was filed.

The arguments made that Plaintiff has not provided all evidence material to the
allegations made in the complaint is ridiculous. Such evidence is to be presented at
trial and is not required to be annexed to the Original Complaint. Plaintiff again states
“Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement of
the claim showing that the pleader is entitled to relief,” [emphasis added] in order to
“give the defendant fair notice of what the claim is and the grounds upon which it
rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), quoting Conley v.
Gibson, 355 U.S. 41, 47 (1957). “[A] complaint attacked by a Rule 12(b)(6) motion to
dismiss does not need detailed factual allegations.” [emphasis added] Id. At 555.

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“[W]e do not require heightened fact pleading of specifics, but only enough facts to
state a claim to relief that is plausible on its face.” [emphasis added] Id. At 570.

14. Defendants’ argument that they did not violate 15 U.S.C. § 1692d or § 1692f is
erroneous and without merit. Defendants initiated a non judicial foreclosure against
Plaintiff in an attempt to "collect a debt" from Consumer without providing validation
of Debt after a demand was made by Plaintiff to Defendants and no validation of the

alleged debt was provided to the Consumer in accordance of the law.

15. The fact that Defendants made a faulty presumption and violated 15 U.S.C. § 1692
does not excuse them from liability under a bona fide error defense as stated in lerman

v. Carlise, NcNellie, Rini, Dramer & Ulrich, L.P.A. 538 F.3d 469,471 (6th Cir. 2008).

16. The audacity of the Defendants argument that Consumer Claim is allegedly a
"spurious lawsuit" is frivolous The veracity of the Consumer Claim has been
legitimized over the years as Countrywide, Bank of America, Deutsche Bank, and
chen all have multimillion dollar consent orders and Judgments against them and
Second Superseding Federal lndictment, for Wilmington Trust, in addition the New
York Attorney General opened an investigation into Caliber Home Loans lnc. for their

abusive practices

Plaintiff has made detailed allegations with particularity that the Defendants have
used written representations of exaggeration and falsehood, which is precisely what is

required for an action to be brought under FDCPA, TlLA and other consumer protection

laws

17 . Plaintiff has also shown that Defendants have violated FDCPA by their Willful failure
to state a material fact, or the willful concealment of a material fact in their
commencement of a non judicial foreclosure against the Plaintiff. The intent of the

Defendants actions was that the Plaintiff would rely on their false and coercive

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statements and just “pay up” rather than exercise his rights as dictated by the FDCPA
and not bring suit against the Defendants for their violation of the FDCPA and other

consumer protection laws

18. The coercive nature of the actions of, and statements made to the Plaintiff in multiple
communications from DEFENDANTS identifying themselves specifically as "Debt
Collectors " leave little doubt that Plaintiff has been damaged with his having lost an
immense amount of sleep and was and is currently being subjected to any manner of
emotional trauma including, but not limited to, loss of sleep, stress , humiliation,
anger, fatigue, anxiety, alienation of affection and emotional distress Defendants are
acting with impunity with continued harassment and abuse of the consumer for their
unjust enrichment in violations of FDCPA and their unlawful actions continue

unabated.

Defendants continue to harass Consumer with threatening letters sent December
19, 2016, December 23, 2016, lanuary 18, 2017 and now escalated the harassment of
Consumer by leaving voice mail on his personal private unlisted cell phone on January 24,
2017 and after Debt Collector was told to cease and desist by Consumer and Lead
Counsel for the Defendants Defendants continue to threaten, harass, abuse and trespass
on Consumers' inalienable rights Allegedly, the foreclosure sale date has been postponed

until when is unclear at this time.

V. CONCLUSION

Plaintiff has pleaded facts sufficient to allow a court, drawing on “judicial
experience and common sense”, to infer “more than the mere possibility of misconduct”,
which easily satisfies Plaintiff burden of pleading under the Federal Rule of Civil
Procedure, in addition to the FDCPA at this stage. See Ashcroft v. lqbal, 129 S.Ct. at

1950. Plaintiff"s claims should therefore survive dismissal.

WHEREFORE, Plaintiff respectfully requests that this Court enter an order

 

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denying Defendants’ Motion to Dismiss. ln the alternative, if the Court determines
Plaintiff has failed to state a claim, Plaintiff asks the Court to grant leave to amend his
Complaint.

RESPECTFULLY SUBM]TTED: This 22nd day of February, in the year, of our Lord,
2017.

 

BY: //”’ » t f /~"‘ ' agent
Consumer Claimant Michael J Brosnahan,
S}ncerely and signed without prejudice,

COPYRIGHT NOTICE: The above-mentioned entity is quoting citations ‘as purported in’
context to copyrighted case law, statutes, rules of court and court decision material as found in
books published with Federal or state funding supplied by the Citizens of the United States of
America and intended for use by attorneys, and does so under the provisions of the Fair use
clause of the copyright laws of the United States

CERTIFICATE OF SERVlCE
ORIGINAL and COPY of the foregoing
Delivered and Filed with the Clerk of the
Court,

This 22nd da of February , 2017,

The Honora le Doug las L. Rayes
UNlTED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF ARIZONA

Conformed COPY of the foregoing

Perkins Coie LLP

Brian C. Lake

Kendra L. Haar

2901 North Central Avenue, Suite 2000

Phoenix Arizona 85012- 2788

Attorneys for Defendants Caliber Home

Loans, LSF9 Master Participation Trust,

and Summit Services and Realty LLC j
BYfrt aff /f`;e §§ 66€1¢’6/ 7 ,agent

Consumer Claimant Michael J Brosnahan,

Sincerely and signed without prejudice,

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